Case 3:13-cr-00252-M Document 41 Filed 02/24/14   Page 1 of 6 PageID 100
Case 3:13-cr-00252-M Document 41 Filed 02/24/14   Page 2 of 6 PageID 101
Case 3:13-cr-00252-M Document 41 Filed 02/24/14   Page 3 of 6 PageID 102
Case 3:13-cr-00252-M Document 41 Filed 02/24/14   Page 4 of 6 PageID 103
Case 3:13-cr-00252-M Document 41 Filed 02/24/14   Page 5 of 6 PageID 104
Case 3:13-cr-00252-M Document 41 Filed 02/24/14   Page 6 of 6 PageID 105
